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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITGATION



      In re: Real Estate Commission Antitrust       MDL Docket No. 3100
      Litigation




    DEFENDANTS MARIN ASSOCIATION OF REALTORS® AND NORTH BAY
  ASSOCIATION OF REALTORS® JOINDER IN THE RESPONSE OF DEFENDANT
   NATIONAL ASSOCIATION OF REALTORS® IN SUPPORT OF TRANSFER OF
   ACTIONS TO NORTHERN DISTRICT OF ILLINOIS FOR COORDINATED OR
   CONSOLIDATED PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407




January 26, 2024                                MORRISON & FOERSTER LLP

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                                                Attorney for Defendants
                                                Marin Association of REALTORS®
                                                North Bay Association of REALTORS®
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       Defendants Marin Association of REALTORS® (“MAR”) and North Bay Association of

RALTORS® (“NBAR”) hereby join the Response of Defendant National Association of

REALTORS® (“NAR”) In Support of Transfer of Actions to Northern District of Illinois For

Coordinated and Consolidated Pretrial Proceedings Pursuant to 28 U.S.C. § 1407. (Dkt. 196.)

For all of the reasons set forth in NAR’s Response, and to avoid duplication of effort and

promote judicial efficiency, MAR and NBAR respectfully request that all pending related actions

be consolidated and centralized in the Northern District of Illinois. In the alternative, MAR and

NBAR would not oppose centralization and transfer to the Eastern District of Texas.




 Dated: January 26, 2024                    Respectfully submitted,


                                            MORRISON & FOERSTER LLP


                                            By: _/s/ Bonne Lau_______________
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